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Case 14-31229-sgj15   Doc 5-1 Filed 03/10/14 Entered 03/10/14 00:17:10   Desc
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Case 14-31229-sgj15   Doc 5-1 Filed 03/10/14 Entered 03/10/14 00:17:10   Desc
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Case 14-31229-sgj15   Doc 5-1 Filed 03/10/14 Entered 03/10/14 00:17:10   Desc
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Case 14-31229-sgj15   Doc 5-1 Filed 03/10/14 Entered 03/10/14 00:17:10   Desc
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Case 14-31229-sgj15   Doc 5-1 Filed 03/10/14 Entered 03/10/14 00:17:10   Desc
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Case 14-31229-sgj15   Doc 5-1 Filed 03/10/14 Entered 03/10/14 00:17:10   Desc
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